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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 EMELY JARA,
                                                                                    Civil Action No.
                                             Plaintiff,
                                                                                    1:23-cv-04409
                                 -against-

 CAVALI NY INC d/b/a CAVALI NEW YORK a/d/b/a                                         CERTIFICATE OF
 CAVALI STEAKHOUSE & LOUNGE, SHARIQ RAZVI                                               SERVICE
 a/k/a TONY RAZVI, and FARAH RAZVI a/k/a FARAH
 RACALDI a/k/a SARAH RAZVI a/k/a SARAH RACALDI,

                                              Defendants.
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        I, Diomicsa Hernandez, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as
follows, certify that on the 3rd day of February 2025, I served a copy of the COURT ORDER
DATED FEBRUARY 1, 2025 (Dkt. No.43) on the following via the United States Postal Service,
First Class mail:

Cavali NY Inc.
Attn: Shariq Razvi a/k/a Tony Razvi
Farah Razvi a/k/a Farah Racaldi a/k/a Sarah Racaldi
36-21 Steinway Street
Long Island City, New York 11101

Shariq Razvi a/k/a Tony Razvi
Farah Razvi a/k/a Farah Racaldi a/k/a Sarah Racaldi
74 Willow Street
Central Islip, New York 11722




                                                                      By:
                                                                              Diomicsa Hernandez
